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 7                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9   CHRISTINE DAVID and RODNEY CLURE,
     individually and on behalf of all others similarly       Case No.
10   situated,
11                         Plaintiffs,                        NOTICE OF REMOVAL
12           v.
13   BANKERS LIFE AND CASUALTY
     COMPANY, a foreign corporation,
14
                           Defendant.
15

16

17           Defendant       BANKERS     LIFE    AND      CASUALTY         COMPANY          (“Bankers”        or

18   “Defendant”) hereby removes Christine David, et al. v. Bankers Life and Casualty Co., No. 11-

19   2-21154-1 SEA, from the Superior Court of King County, State of Washington, to the United

20   States District Court for the Western District of Washington, Seattle Division, and respectfully

21   states the following in support of this removal:

22                                        I.     INTRODUCTION
23           1.       This case is a class action lawsuit alleging that Bankers violated the Washington

24   Minimum Wage Act (“WMWA”) by classifying its insurance agents (“Agents”) as independent

25   contractors instead of as employees. Plaintiffs assert that as a result of this misclassification,

26   Defendants denied Agents minimum wages and overtime pay in violation of the WMWA.
     NOTICE OF REMOVAL - 1

     FIRMWIDE:127038039.5 079456.1001                                            LITTLER MENDELSON, P.C.
                                                                                       One Union Square
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                                                                                    Seattle, WA 98101.3122
                                                                                          206.623.3300
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 1           2.       Bankers previously removed this action to this Court on July 20, 2011, based on

 2   the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2) (“CAFA”). Christine David v.

 3   Bankers Life and Casualty Co., et al., Case No. 2:11-cv-01211-RSL. This Court, by the

 4   Honorable Robert S. Lasnik, remanded this action to the Superior Court based on Banker’s

 5   failure to prove that the amount in controversy was greater than $5,000,000.

 6           3.       The current removal is appropriate based on new facts provided by Plaintiffs on

 7   May 19, 2014. Plaintiffs now assert that they seek damages of more than $16,000,000. This

 8   easily meets the $5,000,000 amount in controversy requirement for removal under CAFA.

 9     II.      DIVERSITY JURISDICTION UNDER THE CLASS ACTION FAIRNESS ACT
10           4.       The Court has original jurisdiction over this action under CAFA. 28 U.S.C. §

11   1332(d)(2). To remove this class action pursuant to CAFA, Defendant must demonstrate that

12   this action involves: (A) minimal diversity; (B) at least 100 class members; and (C) an amount in

13   controversy exceeding $5,000,000. Id. Bankers meets each of these requirements.

14           A.       The Parties Have Minimal Diversity
15           5.       The parties are diverse because the citizenship of Bankers differs from the

16   citizenship of at least one Plaintiff. 28 U.S.C. § 1332(d)(2)(A) (conferring jurisdiction if “any

17   member of a class of plaintiffs is a citizen of a State different from any defendant”).

18           6.       Named Plaintiff Rodney Clure is a citizen of Washington State. First Amended

19   Class Action Complaint (“Compl.”) ¶ 3. (A true and correct copy of the First Amended

20   Complaint is attached as Exhibit A to the Declaration of Daniel L. Thieme (“Thieme Decl.”),

21   which is attached hereto as Exhibit 1.) Named Plaintiff Christine David is also a citizen of

22   Washington State, although she is currently spending time teaching in China. (Compl. ¶ 2);

23   Thieme Decl. ¶ 3, and Exhibit B thereto (excerpt of David deposition).

24           7.       Bankers is a citizen of Illinois, and not a citizen of Washington State. Bankers is

25   incorporated under the laws of the State of Illinois, and its principal place of business, pursuant

26   to the “nerve center” test, is at its headquarters in Chicago, Illinois (Declaration of Karl W.
     NOTICE OF REMOVAL - 2

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 1   Kindig, attached hereto as Exhibit 2, at ¶ 2-3). See Hertz Corp. v. Friend, 559 U.S. 77, 92-93

 2   (2010)(adopting nerve center test for corporate citizenship). Plaintiffs concede that Bankers is

 3   incorporated and has its principal place of business in the state of Illinois. (Compl. ¶ 4).

 4            8.       Given that Plaintiffs Clure and David are citizens of Washington State, and

 5   Bankers is a citizen only of Illinois, there is minimal diversity in this case.

 6            B.       The Class Exceeds 100 Members
 7            9.       The class exceeds 1,000 members. Thieme Decl.¶ 4 (authenticating Findings of

 8   Fact and Conclusion of Law dated January 22, 2014, attached as Exhibit C to Thieme Decl.).

 9            C.       The Amount in Controversy Exceeds $5,000,000
10            10.      On May 19, 2014, Plaintiffs supplemented their answer to Bankers’ Interrogatory

11   regarding damages by stating that the total damages they claim for the period of June 16, 2008

12   through December 31, 2011 are estimated at $16,928,996. 1 Thieme Decl. ¶ 5, and Exhibit D

13   thereto (Plaintiffs’ supplemented discovery response), at the last page, line 11. This new
14   allegation contradicts and negates Plaintiffs’ allegation in the Complaint that they seek less than
15   $5,000,000. See Std. Fire Ins. Co. v. Knowles, __ U.S. __, 133 S. Ct. 1345, 1347-49 (2013);
16   Rodriguez v. AT&T Mobility Services, LLC, 728 F.3d 975, 981 (9th Cir. 2013).
17                                      III.     TIMELINESS OF REMOVAL
18            11.      Pursuant to 28 U.S.C. § 1446(b), a defendant must file a notice of removal within

19   thirty days from the date it first objectively learns, though the initial pleading or another paper in

20   the case, that the action is removable. 28 U.S.C. § 1446(b)(1) & (b)(2)(C)(3); Rea v. Michaels

21   Stores, Inc., 742 F.3d 1234, 1237-38 (9th Cir. 2014). A second removal is timely when done

22   within 30 days of a new paper in the case that shows that the previously unremovable case has

23   become removable. Rea, 742 F.3d at 1238.

24            12.      Plaintiffs’ May 19, 2014 Interrogatory answer was the first paper in this case that

25   revealed that Plaintiffs’ claim for damages exceeds $5,000,000. Prior to the May 19, 2014

26   1
      Plaintiffs’ calculation covers only part of the current class period.
     NOTICE OF REMOVAL - 3

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 1   discovery answer, the only quantification of damages that Plaintiffs had provided in any paper in

 2   this case was in the Complaint, where they alleged, as recently as the First Amended Complaint

 3   filed on August 28, 2013, that they sought less than $5,000,000 in damages. (Compl. ¶ 28).

 4                                               IV.     NOTICE
 5           13.      This Notice of Removal will be served promptly on Plaintiffs and filed with the

 6   Clerk of the Superior Court of the State of Washington for King County, as required by 28

 7   U.S.C. § 1446(d).

 8                                               V.      VENUE
 9           14.      District Venue: Venue is proper in the Western District of Washington because

10   this is the district court of the United States for the district embracing the place where this action

11   is currently pending. 28 U.S.C. §1441(a).

12           15.      Intradistrict Assignment: Venue is proper in the Seattle Division, pursuant to

13   LCR 3(d)(1), because the action is currently pending in King County.

14                                         VI.         CONCLUSION
15           16.      WHEREFORE, further proceedings in this Action should be discontinued in the

16   Superior Court, and the Action should be removed to the United States District Court for the

17   Western District of Washington.

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     NOTICE OF REMOVAL - 4

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                 Case 2:14-cv-00766-RSL Document 1 Filed 05/22/14 Page 5 of 6




 1
     May 22, 2014
 2

 3                                             s/ Daniel L. Thieme
                                               Daniel L. Thieme, WSBA #12855
 4                                             dthieme@littler.com

 5                                             s/ Ryan P. Hammond
                                               Ryan P. Hammond, WSBA #38888
 6                                             rhammond@littler.com

 7                                             s/ Joanna M. Silverstein
                                               Joanna M. Silverstein, WSBA #38577
 8                                             jsilverstein@littler.com

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12                                             E-Mail:       dthieme@littler.com
13                                             Attorneys for Defendant
                                               BANKERS LIFE AND CASUALTY
14                                             COMPANY
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     NOTICE OF REMOVAL - 5

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 1                                         CERTIFICATE OF SERVICE

 2           I am a resident of the State of Washington, over the age of eighteen years, and not a party

 3   to the within action. My business address is One Union Square, 600 University Street, Suite

 4   3200, Seattle, Washington 98101.3122. I certify that on May 22, 2014, I filed the foregoing

 5   document with the Clerk of the Court using the CM/ECF System.

 6           I further certify that I served a true copy of the foregoing document in the manner

 7   indicated on the person(s) set forth below:

 8
             by emailing a true copy of the same to the email addresses of the person(s) set forth below.
 9
             by placing a true copy of the same for collection and mailing following the firm’s ordinary business practice
              in a sealed envelope with postage thereon fully prepaid for deposit in the United States mail at Seattle,
10            Washington addressed as set forth below.

11
             by causing a copy of the same to be hand-delivered to the person(s) at the address(es) set forth below.
12
             Martin S. Garfinkel, WSBA # 20714
13           garfinkel@sgb-law.com
             Adam J. Berger, WSBA #20787
14           berger@sgb-law.com
             Lindsay L. Hahm, WSBA #37141
15           halm@sgb-law.com
             SCHROETER GOLDMARK & BENDER
16           810 Third Avenue, Suite 500
             Seattle, Washington 98104
17           Tel: (206) 622-8000
             Fax: (206) 682-2305
18
             ATTORNEYS FOR PLAINTIFF
19

20
             I declare under the penalty of perjury under the laws of the State of Washington that the
21   above is true and correct. Executed on May 22, 2014, at Seattle, Washington.
22

23                                                         s/Sally Swearinger
                                                           sswearinger@littler.com
24

25

26
     NOTICE OF REMOVAL - 6

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